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                      EXHIBIT C
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DATE                 PERSON                DESCRIPTION                                                                  HOURS RATE    TOTAL

         5/28/2019 Martha Fitzgerald       Prep for June 3 oral argument on sanctions motions, including legal research 5       225      1,125.00

         5/29/2019 Martha Fitzgerald       Prep for June 3 oral argument on sanctions motions, including legal research 6.3     225      1,417.50

         5/30/2019 Martha Fitzgerald       Prep for June 3 oral argument on sanctions motions, including legal research 3.6     225       810.00

       5/31/2019     Martha Fitzgerald     Prep for June 3 oral argument on sanctions motions, including legal research 5.4     225      1,215.00
         6/2/2019    Martha Fitzgerald     Final prep for June 3 oral argument on Sanctions Motions                      4.2    225        945.00
SUBTOTAL                                                                                                                 24.5            5,512.50
       5/25/2019     Michael Bloch         Attention to June 3 hearing                                                   3      400      1,200.00
       5/26/2019     Michael Bloch         Preparation for June 3 hearing                                                3.2    400      1,280.00
       5/27/2019     Michael Bloch         Preparation for June 3 hearing                                                2      400        800.00
       5/28/2019     Michael Bloch         Preparation for June 3 hearing                                                0.7    400        280.00
       5/29/2019     Michael Bloch         Preparation for June 3 hearing                                                3.8    400      1,520.00
       5/30/2019     Michael Bloch         Preparation for June 3 hearing                                                3.5    400      1,400.00
       5/30/2019     Michael Bloch         Airfare for travel to Charlottesville (economy class)                         0      n/a        489.30
       5/30/2019     Michael Bloch         Airfare for travel from Charlottesville (economy class)                       0      n/a        489.30
       5/30/2019     Michael Bloch         One night stay in standard hotel room in Charlottesville (including tax)      0      n/a        207.05
       5/31/2019     Michael Bloch         Preparation for June 3 hearing                                                3      400      1,200.00
         6/1/2019    Michael Bloch         Preparation for June 3 hearing                                                3.7    400      1,480.00
         6/2/2019    Michael Bloch         Travel to Charlottesville and prep for June 3 hearing                         6.5    400      2,600.00
                                           Prep for hearing, participate in hearing and follow up re same; return travel
           6/3/2019 Michael Bloch          from Charlottesville                                                          9.8    400      3,920.00
SUBTOTAL                                                                                                                 39.2           16,865.65
                                           Pull cases for oral argument on sanctions motions; prepare and organize
         5/20/2019   Emma Buckland Young   binders for oral argument on sanctions motions.                               1      100       100.00
         5/21/2019   Emma Buckland Young   Prepare and organize binders for oral argument on sanctions motions.          0.5    100        50.00
         5/23/2019   Emma Buckland Young   Prepare materials for oral argument on sanctions motion.                      0.3    100        30.00
         5/24/2019   Emma Buckland Young   Prepare materials for oral argument on sanctions motion.                      0.2    100        20.00
         5/28/2019   Emma Buckland Young   Prepare materials for oral argument on sanctions motions.                     1.8    100       180.00
                                           Prepare materials for oral argument on sanctions motions; prepare sources
         5/29/2019 Emma Buckland Young     for sanctions motions for oral argument.                                      4      100       400.00

                                           Prepare materials for oral argument on sanctions motions; prepare sources
         5/30/2019 Emma Buckland Young     for sanctions motions for oral argument; prepare exhibits for oral argument. 2       100       200.00



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                                        Prepare materials for oral argument on sanctions motions; prepare sources
       5/31/2019 Emma Buckland Young    for sanctions motions for oral argument; prepare exhibits for oral argument. 2.7    100       270.00
         6/1/2019 Emma Buckland Young   Prepare materials for oral argument on sanctions motions.                    0.8    100        80.00
         6/2/2019 Emma Buckland Young   Prepare sources for sanctions motions for oral argument.                     0.9    100        90.00
SUBTOTAL                                                                                                             14.2           1,420.00

TOTAL                                                                                                               77.90         $23,798.15




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